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                                                                                        E-FILED
                                                          Tuesday, 01 August, 2017 08:18:19 AM
                                                                   Clerk, U.S. District Court, ILCD

                         UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF ILLINOIS
                             SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
            Plaintiff,                       )
                                             )
      v.                                     )
                                             )     Case No. 95-CR-30078-02
                                             )
JAMES E. COLLINS,                            )
                                             )
            Defendant.                       )

                            ORDER OF DETENTION

      In accordance with the Bail Reform Act, 18 U.S.C. ' 3142(f), a detention

hearing was held in this case on July 25, 2017. The Court has determined that the

defendant, James E. Collins, must be held without bond pending further

proceedings.

      The Court has considered all of the factors listed in 18 U.S.C. ' 3142(g) and

all of the evidence and information presented by the parties relating to those

factors. After weighing those factors and the available evidence, the Court

concludes the United States' motion for detention should be allowed.

      The Court finds that the defendant poses a risk to the community if

released from detention.



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                                 Violation Charges

      On July 5, 2017, a petition to revoke the defendant’s supervised release

was filed and a warrant for his arrest issued. The petition alleged that the

defendant violated the conditions of his supervised release when the defendant

was arrested on June 29, 2017, after he and another individual were caught

attempting to sell 9 ounces of cocaine to a confidential source. The defendant was

charged in Sangamon County for manufacture and delivery of a controlled

substance within 1000 feet of a school. The highest level violation is a Class A

violation.

               Findings of Fact and Reasons Detention Required

      Based upon the credible evidence and information received during the

defendant=s detention hearing, the Court finds:

       1.    There has not been a showing by clear and convincing evidence that

the defendant is not a risk to the community.

       2.    Section 3142(g) sets forth factors that the court is to consider in

determining whether there are any conditions of release that will reasonably

assure the appearance of the defendant as required or the safety of any other

person and the community. Those factors are: (1) the nature and circumstances

of the offense charged, including whether the offense involves a minor; (2) the


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weight of the evidence against the defendant; (3) the history and characteristics

of the defendant, including physical and mental condition, family ties,

employment, financial resources, length of residence in the community,

community ties, past conduct, history relating to drug or alcohol abuse, criminal

history, and record concerning appearance at court proceedings; and (4) the

nature and seriousness of the danger to any person or the community that

would be posed by the defendant=s release. The factors set forth in Section

3142(g) favor detention of the defendant.

      3.     Nature and circumstances of the violation of supervised release

The defendant is charged in Sangamon County criminal court docket number 17-

CF-709 with a class X for manufacture and delivery of a controlled substance. On

June 29, 2017, law enforcement officers observed the defendant arrive at the

residence of Billy Clark. Clark arranged to sell 9 ounces of cocaine to a

confidential source (CS) in exchange for $10,000. Officers observed the defendant

take a multicolored box out of the defendant’s vehicle and enter Clark’s F-150

truck with Clark. Officers conducted a traffic stop on the truck and recovered the

same multicolored box possessed by the defendant. Inside the box was 254

ounces of cocaine. Officers then executed a search warrant on Clark’s house and

recovered an additional 44 grams of cocaine, a .38 caliber firearm, a digital scale

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and $2,350 in cash. The defendant’s role in this crime factors in favor of

detention.

       4.    History and characteristics of the defendant.

The defendant was sentenced to a significant term of imprisonment on his

underlying charge of conspiracy to distribute controlled substances. The

defendant began supervised release on October 30, 2015. One of the conditions

of supervised release was that the defendant not unlawfully possess a controlled

substance. However, the evidence presented shows that the defendant violated

that term of supervised release by possessing a large amount of cocaine which

he and his conspirator intended to sell for $10,000. The defendant undertook to

participate in a substantial drug transaction in spite of his terms of supervised

release. The evidence presented shows the defendant is unable to comply with

the terms of supervised release and weighs in favor of detention.

       5.    The United States recommends the detention of the defendant.

       6.    Based upon the evidence presented at the detention hearing, I find

that there are no conditions of release that will assure the safety of the

community if the defendant is released.

      IT IS THEREFORE ORDERED that the defendant is committed to the

custody of the Attorney General or his designated representative for confinement

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in a corrections facility separate, to the extent practicable, from persons awaiting

or serving sentences or being held in custody pending appeal. The defendant

shall be afforded a reasonable opportunity for private consultation with defense

counsel. On order of a Court of the United States or on request of an attorney for

the United States, the person in charge of the corrections facility shall deliver the

defendant to the United States Marshal for the purpose of an appearance in

connection with a Court proceeding.



ENTER: July 31, 2017.

                                              __s/ Tom Schanzle-Haskins________
                                              TOM SCHANZLE-HASKINS
                                              UNITED STATES DISTRICT JUDGE




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